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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION AT LEXINGTON
                               CASE NO. 5:22-CV-231-DCR

         EUGENE BAKER, ET AL.                                         PLAINTIFFS


         VS.


         BLACKHAWK MINING, LLC
         AND PINE BRANCH MINING, LLC                                  DEFENDANTS

         ************************************************************
                            DEPOSITION TAKEN ON BEHALF OF
                          PLAINTIFFS, EUGENE BAKER, ET AL.

         DEPONENT:                                        DANIEL WILSON

         DATE OF DEPOSITION:                              DECEMBER 13, 2023

         ************************************************************




         ************************************************************
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                     ALSO PRESENT        MR. DON GIBSON,
                                         COMPANY REPRESENTATIVE
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                             UNITED STATES DISTRICT COURT
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                               CASE NO. 5:22-CV-231-DCR

         EUGENE BAKER, ET AL.                                         PLAINTIFFS


         VS.


         BLACKHAWK MINING, LLC
         AND PINE BRANCH MINING, LLC                                  DEFENDANTS

         ************************************************************
                     The Deposition of Daniel Wilson was taken before

         Atha Mae Maggard, Notary Public in and for the State of

         Kentucky at Large, at the Kentucky Energy & Environment

         Cabinet, 556 Village Lane, Hazard, Kentucky, on the 13th day

         of December, 2023, at the Hour of 10:00 a.m., for the

         purpose of using the same upon the trial of the above-styled

         action now pending before the United States District Court

         on behalf of the Plaintiffs, Eugene Baker, et al.

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     1               The Witness, Daniel Wilson, being first duly

     2   sworn, was examined and deposed as follows:

     3

     4   DIRECT EXAMINATION BY HON. NED PILLERSDORF:

     5               Q         Sir, state your name for the record.

     6               A         Daniel Wilson.

     7               Q         And Mr. Wilson, how are you employed?

     8               A         I am employed by the state Environmental
     9   Cabinet, and my division is Division of Mine Reclamation and

    10   Enforcement.

    11               Q         Okay.   What is your job title?

    12               A         Environmental Scientist III.

    13               Q         Okay.   How long have you worked for the

    14   Cabinet?

    15               A         I have worked for the Cabinet almost

    16   thirteen (13) years.       It just lacks a couple of days being

    17   thirteen (13) years.

    18               Q         Okay.   What have you done for those
    19   thirteen (13) years?

    20               A         Well, I went through, obviously went

    21   through some training and then I've been an environmental

    22   inspector on permits for, I would say after probably about

    23   the first of the year I was insp-, inspected permits on my

    24   own.

    25               Q         Okay.   Where do you live?


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     1               A         I live in Owsley County.

     2               Q         Okay.   I assume you're familiar with

     3   Breathitt County?

     4               A         Yes.

     5               Q         Okay.   Do you recall the flood event in

     6   Breathitt County that happened July of 2022?

     7               A         I do.

     8               Q         I'm curious, where were you that, when
     9   that was going on?

    10               A         I believe I was, I believe I was working

    11   on, you know, on some of the, some of my permits at, at that

    12   time.

    13               Q         Let me ask you, this case involves

    14   flooding damage that occurred in an area of Breathitt

    15   County.    It goes by various names.        If I say Caney Creek,

    16   does that mean anything to you?

    17               A         I recognize that area.

    18               Q         Okay.   Did you happen to go up there after
    19   the flood event?

    20               A         It was several days after the flooding

    21   event.

    22               Q         Okay.   Do you recall what you saw when you

    23   got up there?

    24               A         Well, there was quite a bit of devastation

    25   there caused by the high water.         There was lots of, lots of


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     1   debris and, and lots of destruction of, of buildings and

     2   structures and everything.

     3               Q         Okay.   What was going on when you got up

     4   there?

     5               A         I think that there was a few pieces of

     6   equipment working moving silt and stuff like that and, and

     7   people were trying to just get around and look and assess

     8   the damages in most areas.
     9               Q         Do you know if anybody died during the

    10   flood event in that area?

    11               A         I don't really know that.        I mean I heard

    12   that there was loss of life, but I didn't know anyone.

    13               Q         Okay.   So you actually live in Owsley

    14   County, correct?

    15               A         That's right.

    16               Q         You didn't get--did you get any kind of

    17   flood damage there?

    18               A         We got some, and probably the closest to
    19   us was the Buckhorn area.

    20               Q         Okay.   The reason I asked you here today,

    21   Mr. Wilson--in front of you I have given you two (2) sets of

    22   documents, is that correct?

    23               A         Yes.

    24               Q         Okay.   One appears to be--I will ask you

    25   to help me out so we're clear on what we're talking about.


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     1   One appears to apply to Permit Number 897-0568, is that

     2   correct?

     3               A         Yes.

     4               Q         Can you explain for the record what a

     5   permit number is.

     6               A         Permit numbers are identification numbers

     7   for individual permits.       The first three (3) numbers

     8   designate the county; so 897 designates Perry County.
     9               Q         Okay.

    10               A         And then each time that there is a, a

    11   change in that permit as far as change of ownership or, or

    12   anything like that, there's a new four (4) digit number

    13   issued.

    14               Q         Okay.   Well, let me ask you about the set

    15   of documents in front of you.           Look through them, Mr.

    16   Wilson, that I'm correct, do they all appear to pertain to

    17   Permit Number 897-0568?

    18               A         The ones I have in my hand do.
    19               Q         Okay.   You're looking at another set.         I

    20   believe that's another permit number.

    21               A         Yeah, it is, it is.       These, these all

    22   pertain to 0569.

    23               Q         Okay.   The reason I am inconveniencing you

    24   here today, bringing you here today, is your name listed as

    25   the environmental inspector on all of these documents?


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     1               A         Yes, sir.

     2               Q         Okay.   On the top left on this set of

     3   documents--I guess, for the record, do you have any

     4   objection to admitting this as collectively Plaintiff's

     5   Exhibit 1 or, I guess, Wilson Exhibit 1, just so the record

     6   is clear?    Is that okay with you, Lance?

     7               MR. HUFFMAN:          That's fine with me.

     8               MR. PILLERSDORF:      Okay.    Atha, why don't we put a
     9   No. 1 on that, collective Exhibit 1.

    10               Q         Am I correct, Mr. Wilson, that appears to

    11   be a number of documents there, probably about twenty (20)

    12   to twenty-five (25) pages.        Is that fair?

    13               A         It probably is.      I didn't see the number

    14   there.

    15               Q         Okay.   Let me ask you, the top document,

    16   it says Inspection of Non-Compliance, is that correct?

    17               A         Yes.

    18               Q         Okay.   For the record, what is, what does
    19   an Inspection of Non-Compliance mean in layperson's terms?

    20               A         After a violation is noted or, or

    21   discovered and there is a citation issued, then the

    22   Inspections of Non-Compliance are after, after that and they

    23   pertain to any changes or anything, anything in the non-

    24   compliance...

    25               Q         Okay.


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     1               A         ... that changes, and the time limit is

     2   usually one of the main things.

     3               Q         Do the documents in front of you appear to

     4   be a series of non-compliances, I believe, starting in 2020?

     5   Is that a fair statement?

     6               A         Yes.    I see one issued in 2020.

     7               Q         Okay.    So the record is clear, the date

     8   I'm looking at--it may be the last one in the packet,
     9   counsel.    It says date issued 2-26-2020, is that correct?

    10               MR. MORGAN:           Ned, I don't have that one.        As

    11   far back as mine...

    12               MR. PILLERSDORF:      It should be in the back.

    13               MR. MORGAN:           ... goes is 2021.

    14               MR. WILSON:           So the last sheet in that

    15   first...

    16               MR. MORGAN:           As far as mine goes back is

    17   March of 2021.     Ned, can we take a look at what you handed

    18   him.
    19               MR. LARKIN:           I don't think that's the same

    20   thing I have.

    21               MR. MORGAN:           I don't think we have that.

    22               MR. LARKIN:           Let's look at the non-compliance

    23   number, okay.     Now these are not organized the same as my

    24   stack.    Do you see what I'm saying?

    25               MR. MORGAN:           Yeah.    It's not mine either.


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      1               Q        So the record is clear, Mr. Wilson, what

      2   is the, does there appear to be a document in front of you

      3   dated, it says the date issued two thousand, 2-26-2020, and

      4   it has a non-compliance number.         I think it's 80-0847.      Is

      5   that correct?

      6               MR. LARKIN:           Well, I've got to hand it back

      7   to him.

      8               Q        Okay.    Let me, let me be fair to you, Mr.
      9   Wilson.   It says dated two, 2-26-2020, and to the left it

     10   has a non-compliance number of 80-0847.          Is that correct?

     11               A        Yes.

     12               Q        Okay.    Just in layperson's terms, what

     13   does that document indicate?        We're talking about in 2020.

     14               A        We are talking about an Inspection of Non-

     15   Compliance that was dated July 21, 2022, pertaining to Non-

     16   Compliance 80-0847 that was issued February 26, 2020.             And

     17   this non-compliance is--well, first of all, the violation

     18   code is contemporaneous and it's KAR 16:020.           And this is
     19   asking, asking for an extension beyond ninety (90) days and

     20   it's checked there that the extension has been requested and

     21   that the non-compliance is under the review of the Director.

     22               Q        In looking at the document, you mentioned

     23   that there was a violation code.         And I think you said

     24   contemporaneous reclamation, is that correct?

     25               A        That's correct.


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      1               Q        What does that mean in layperson's terms?

      2               A        Well, contemporaneous has to do with--

      3   that's, that's the, the way that the state monitors the

      4   highwall on, on a permit and contemporaneous has to do with

      5   the, the distance, linear feet, and also the time.             They

      6   have a certain amount of time to, to complete that

      7   reclamation, and they have a certain amount of time to

      8   eliminate that linear feet of--and they have a limit also as
      9   far as the, the amount of linear feet that they can create.

     10               Q        Okay.    You used the expression

     11   "contemporaneous reclamation".          What does that mean as to

     12   your understanding?

     13               A        Well, this particular one I wrote, so I

     14   know exactly what it is.

     15               Q        Okay, tell us.

     16               A        Well, they ran out of time to, to reclaim

     17   the wall.    That means that there was wall created out there,

     18   exposed highwall, that was not reclaimed within the approved
     19   amount of time.

     20               Q        Okay.

     21               A        So that's what, that's what was cited.

     22               Q        Okay.    The other documents in front of you

     23   also talk about a, also reference contemporaneous

     24   reclamation, is that true?

     25               A        Some of them do, yes.


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      1               Q        Okay.    Let's jump to the top of the stack.

      2   I am looking at one, I think the date is 1-19-22.            Do you

      3   have that in front of you?        It's the one--the reason, so

      4   we're not confused here, the 1-19-22 appears to be across

      5   from your signature, correct?

      6               A        The date that is across from my signature

      7   usually is the date of the, that the document was, the date

      8   the inspection document was, was filled out.
      9               Q        Okay.

     10               A        There is a date--sir, I didn't mean to...

     11               Q        That's okay.

     12               A        There is a date right there in the upper

     13   right-hand corner next to my signature.

     14               Q        Yes, sir.

     15               A        And that date indicates when my signature

     16   was actually put on this document.

     17               Q        Okay.    It references contemporaneous

     18   reclamation, correct?
     19               A        Yes.

     20               Q        Okay.    What was the reclamation issue that

     21   caused this document to be generated?

     22               MR. HUFFMAN:          Hey, Ned.

     23               A        Are we talking about the 9-1-22 or...

     24               Q        It says the date, the best I can identify

     25   it is it's got environmental inspector, has your name,


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      1   Daniel Wilson.

      2                A       Yes, sir.

      3                Q       And then on the date, it says 1-19-2022.

      4                A       Okay.    I, I must not be looking at the

      5   right one.

      6                Q       Okay.

      7                A       Let me pull, let me see if I can find that

      8   one.
      9                MR. MORGAN:          Just note a general objection in

     10   the record; I don't know that we have the same packet as the

     11   witness, and I can't follow the dates based on the question.

     12                MR. WILSON:          Okay.   I am looking at one now

     13   that is dated 1-19-22.

     14                MR. PILLERSDORF:     Okay.   Do you all have that?

     15   It's across from his signature.

     16                MR. MORGAN:          Yeah, I think I have found that

     17   one.

     18                MR. LARKIN:          Does the heading begin
     19   Inspection of Non-Compliance No. 80-0845?

     20                MR. WILSON:          No.   This one is 80-0847.

     21                MR. LARKIN:          Okay.   Let me see which stack of

     22   mine this is in.     These stacks are in different orders,

     23   that's the reason we're having trouble.          Okay.    What was the

     24   date on this one?

     25                MR. WILSON:          It is 1-19-2022.


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      1               MR. LARKIN:           I will flip to it.      You all can

      2   go ahead.    I'm sure it's in here somewhere.

      3               MR. WILSON:           Well, this is, this is

      4   pertaining to the same CR violation that we were talking

      5   about on the other page.       The only thing is this one right

      6   here, instead of having it checked here for being under the

      7   review of the Director, this one is actually granting an

      8   extension...
      9               MR. PILLERSDORF:      Okay.

     10               MR. WILSON:           ... extension of time.

     11               Q        Why, why was the extension granted?

     12               A        The extension of time was granted to, to

     13   allow them more time to, to eliminate the violation, which

     14   is to, to either mine, take a, take another cut or mining,

     15   more mining activity on that wall or complete the

     16   reclamation, one (1) of the two (2).

     17               Q        Were you the main inspector on this

     18   particular permit?
     19               A        Well, I was the principal inspector.          My

     20   supervisor is, is also, I mean he, he's also privy to all

     21   this information and also he was, he actually, his name is

     22   on here as far as maybe citing a, a violation or two (2), at

     23   least one (1), I know.

     24               Q        Let me call your attention to a--let's see

     25   if we can all find this.       I am looking at an inspection


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      1   report; next to your name it says the date is 7-21-2022.              It

      2   says Mine Inspection Report.        Can you find that document in

      3   your packet there?

      4                A         Well, the, the one, the one that we were

      5   looking at first at the very top of the...

      6                Q         Yeah.

      7                A         ... pile, that one was.

      8                Q         But I'm interested in the document called
      9   Mine Inspection Report.

     10                A         Oh, that's the report, yeah, not, not the

     11   --I've got you.

     12                MR. MORGAN:          Ned, this is not in Exhibit A or

     13   Exhibit 1.       Is that right?

     14                MR. PILLERSDORF:     It should be.     Let's take a

     15   break and make a copy of that.          Is there a copy machine

     16   here, Lance?

     17                MR. HUFFMAN:         Yeah.    Yeah, there is.

     18                MR. WILSON:          Okay.    Now this is, this is the
     19   Mine Inspection Reports right here.         The packet that was on

     20   top of mine, this Exhibit A, they only include Inspection of

     21   Non-Compliances.      So the next one under there is, is, has

     22   some Mine Inspection Reports.        The date you were looking for

     23   is what?

     24                Q         I am interested in 7-21-22.

     25                A         Alright.


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      1               Q        And then I am also going to ask you about

      2   9-1-22.

      3               MR. PILLERSDORF:      I'm going to have--Lance, can

      4   you make copies for everybody, including Mr. Wilson and Mr.

      5   Morgan.

      6               MR. HUFFMAN:          Yeah, absolutely.

      7               MR. PILLERSDORF:      We'll take a break.

      8               OFF THE RECORD
      9               Q        To avoid confusion, Mr. Wilson, Mr.

     10   Huffman has handed you, I think, two (2) documents.             One has

     11   a date of 9-1-22 and one has a date of 7-21-22.            Is that

     12   correct?

     13               A        That is correct.

     14               MR. PILLERSDORF:      Okay.   To avoid confusion, let's

     15   do the 7-21-22 as Exhibit 2 to this deposition, and we'll do

     16   9-1-22 as Exhibit 3 as an Exhibit to this deposition, so

     17   it's all clear.

     18               Q        Mr. Wilson, the court reporter has handed
     19   you Exhibits 2 and 3, is that correct?

     20               A        Yes.

     21               Q        Okay.    Let's talk about Exhibit 2.        And to

     22   be clear, it has a date, 7-21-2022, in the lower right

     23   corner?

     24               A        That's correct.

     25               Q        And this is a Mine Inspection Report,


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      1   correct?

      2                A       Yes.

      3                Q       Okay.    What is a Mine Inspection Report?

      4                A       When, when an inspector goes out on a

      5   permit, whatever, whatever they observe or, you know, they,

      6   they're required to fill out a Mine Inspection Report.

      7                Q       Okay.    There are some codes in the report.

      8   I guess in the main body of it, there's a code next to
      9   contemporaneous reclamation, KAR 16:020, and it says ER.              Is

     10   that correct?

     11                A       Yes.

     12                Q       Okay.    What does ER mean?

     13                A       ER means that an extension has been

     14   requested.

     15                Q       Okay.    What was the issue with the

     16   contemporaneous reclamation that that ER is referring to?

     17                A       That was the, the exceeding of approved

     18   time to reclaim the wall.
     19                Q       To reclaim what?

     20                A       To reclaim the, the, the exposed highwall.

     21                Q       Okay.    It also, there's also an indication

     22   of revegetation.     Do you see that down as well?

     23                A       Yes.

     24                Q       Okay.    There's initials FP.       What does

     25   that mean?


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      1                A         That's preventive maintenance.       That's,

      2   that is statements that the inspectors can use to, to alert

      3   the, the permittees or the operators that there is a, that

      4   there's a violation that, that may occur.

      5                Q         Okay.   Down in the--there's some notes

      6   toward the bottom of it, correct, some typed-in notes?

      7                A         Yes.

      8                Q         Let me just ask you, at one point it says,
      9   "FP: RV Ensure the minimum ninety (90%) percent of the

     10   permanent ground cover standards for revegetation has been

     11   achieved."       Is that correct?

     12                A         Yes.

     13                Q         Okay.   What does that indicate?

     14                A         Well, that is a preventive maintenance

     15   statement saying that with the post-mining land use of

     16   hayland pasture, that in order for them to get bond release

     17   or for them to be finished with the reclamation, the

     18   vegetation has to reach ninety (90%) percent coverage.
     19                Q         Okay.   Was that true on that particular

     20   date, 7-21-22, according to this document?

     21                A         Well, that was just preventive maintenance

     22   telling them, it says, it says, "Ensure the minimum ninety

     23   (90%) percent of the permanent ground cover standards for

     24   revegetation has been achieved."         It's just giving them a

     25   reminder that that has to be done before...


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      1               Q        On this particular date, had it been

      2   achieved?

      3               A        No.

      4               Q        Huh?

      5               A        No.

      6               Q        Do you, do you have any personal

      7   recollection of what the situation was on 7-21-22?             You

      8   indicate the reclamation had not been achieved.            Do you have
      9   any personal recollection of what the status was then?

     10               A        Well, the, the CR violation that was

     11   written on 0568 and the CR violation that was cited on 0569

     12   as well--and the reason I'm bringing them both together is

     13   because the reclamation variance that was approved, was

     14   approved for both permits together...

     15               Q        Okay.

     16               A        ... although time was a different issue

     17   than, than linear footage.        What that did was it combined

     18   linear footage to a certain number that could be open,
     19   highwall open on both permits.          Now that being said, this

     20   time had been cited on both permits.

     21               Q        Why were they cited?

     22               A        Because they had failed to reclaim in the

     23   approved amount of time.

     24               Q        Can you give us a sense of how significant

     25   the lack of reclamation was.        Was it a minor problem or


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      1   something more significant?

      2               A        Well, I think the, one of the reasons was

      3   due to the, the economics during, you know, during that

      4   time.    They had just slowed down mining.        Now whether,

      5   whether they had a place to sell the coal or a place--you

      6   know, I don't know the business, their business, but I do

      7   know that all over economics had, you know, had dictated

      8   that there was kind of a slow-down.
      9               Q        Okay.    Were there any pictures taken on 7-

     10   21-22 as to the reclamation?        Do you regularly take

     11   pictures, I guess, to support these reports?

     12               A        Most of the time pictures are taken to

     13   support the violations of non-compliances.

     14               Q        Okay.    The reason I'm asking about the 7-

     15   21-22, that's within days of the flood event.            Is that

     16   correct, sir?

     17               A        Yes.

     18               Q        And let's jump to Exhibit 3 in front of
     19   you.    This appears to be, and please correct me if I'm

     20   wrong, 9-1-2022, or about a month or two (2) after the flood

     21   event.    Is that a fair statement, Mr. Wilson?

     22               A        Yes.

     23               Q        Okay.    And just to go through it a little

     24   bit, it says contemporaneous reclamation and then it has the

     25   code AO and then a code EA.        Can you explain to us what


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      1   those codes mean.

      2               A        Let's see here, AO means inspection of

      3   agreed order, and let's see.

      4               Q        Let me interrupt.      AO means agreed order,

      5   is that correct?

      6               A        It means inspection of agreed order, yes.

      7               Q        Okay.

      8               A        There was an agreed order issued by the
      9   Secretary for 897-0568 and 897-0569, and it pretty well tied

     10   in with the non-compliance that had been written there.

     11               Q        Explain for the record, when you said

     12   there was an agreed order, what does that mean in

     13   layperson's terms?

     14               MR. MORGAN:           Object to form.

     15               A        Well, there was some type of negotiation,

     16   and I don't, I didn't sit in on any of that, so I don't

     17   really know anything about it other than the fact that the

     18   agreed order is, is a declaration signed by the Secretary
     19   that states what a permittee will have to do to comply and

     20   to abate the non-compliances.

     21               Q        Okay.    Just jumping ahead a little bit,

     22   there is also some typewritten language in this inspection

     23   report dated 9-1-22, Exhibit No. 3, correct?

     24               A        Yes.

     25               Q        It looks like some sort of penalty was


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      1   assessed, is that correct?

      2               MR. MORGAN:           Objection to form.      I am noting

      3   an objection to the language of the question.

      4               MR. HUFFMAN:          You can go ahead and answer.

      5               A        Well, well, it says, "An extension of

      6   Agreed Order GAH22", that's supposed to be 22 dash 2 dash

      7   0014, "has been granted with completion of the payment of

      8   penalty of five thousand dollars ($5,000) within thirty (30)
      9   days, also to submit a supplemental bond of five thousand,

     10   five hundred thousand dollars ($500,000) within thirty (30)

     11   days or before August 31, 2022, which has been completed.

     12   Therefore the new date for the Agreed Order is 7-15-2024."

     13               Q        Mr. Wilson, what is your understanding of

     14   why there was payment of a penalty?

     15               A        Well, when this agreed order was, was

     16   written and it was agreed upon by all parties involved, that

     17   was what the state required.

     18               Q        The reason I'm asking you, Mr. Wilson,
     19   what was your understanding of why a penalty was assessed?

     20               A        I don't really, I don't really know.

     21               Q        Was it due to the revegetation issue?

     22               A        No.

     23               Q        Okay.

     24               A        This, this non-compliance has to do with

     25   CR...


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      1               Q        Okay.

      2               A        ... only, and that is, that is that they

      3   allowed the approved amount of time to, to expire.

      4               Q        Are you familiar with Pond 45?         Just to

      5   your personal knowledge, are you familiar with that?

      6               A        I'm trying, yeah, I'm trying to recall

      7   exactly which pond that is.        Yes, I, I'm familiar.

      8               Q        It is related to one of these permits?
      9               A        Yes.

     10               Q        Okay.    Let me ask you: was Pond 45, to

     11   your knowledge, designed with a service area of two and a

     12   half (2½) acres?     Is that correct?

     13               A        I, I wouldn't know without checking the

     14   design.

     15               Q        Of your personal knowledge, when this

     16   flood event occurred, had issues arisen with Pond 45 that

     17   resulted in a violation, if you know, Mr. Wilson?

     18               A        Again, I would have to refresh my memory
     19   as to which pond Pond 45 is.        There was a couple of ponds

     20   that were cited after that, I, I know that, but I can't

     21   remember exactly which, which two (2) ponds it was.

     22               Q        To your knowledge, did Pond 45 fail during

     23   the flood event?

     24               A        No.    We didn't have any ponds to fail.

     25               Q        Okay.    To your knowledge, was the surface


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      1   area of Pond 45 down to point six (.6) acres after the flood

      2   event?

      3               A        I don't know that.

      4               Q        You don't know that?

      5               A        No.

      6               Q        Was that part of your job to look at Pond

      7   45?

      8               A        Well, after the flooding occurred, my
      9   supervisor and a couple of other--well, Jason Mills was one

     10   of them.    I'll just say one (1) person for sure.          They came

     11   over and helped me check some, some, some of the area, some

     12   of the ponds, and I think Pond 45 was the pond they checked.

     13               Q        Was there a Notice of Violation issued on

     14   August 8, 2022, referring to Pond 45?          Do you recall that?

     15               A        I can't remember the date, but there was

     16   a, I think there was a violation.

     17               Q        Why was there a Notice of Violation for

     18   Pond 45 issued on August 8, 2022?
     19               A        If my memory serves me correctly, and I'm

     20   working off memory, Pond 45, after the flooding event, there

     21   was some erosion down below the emergency spillway and that

     22   we had two (2), two (2) ponds that we cited for that.

     23               Q        Okay.    Why were they cited?

     24               A        Well, they were cited because there was

     25   such a volume of water came out the pipe and the emergency


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      1   spillway that it washed some rills and gullies there below

      2   that, below that emergency spillway.          Anything deeper than

      3   nine (9) inches is a violation.

      4                Q       Do, do fish exist in these ponds?

      5                A       We don't stock those ponds.         Those ponds

      6   are built strictly for the use of silt control for the

      7   companies.

      8                Q       Okay.
      9                A       Now some, you know, some of the private

     10   citizens may put fish in them; I don't know.

     11                Q       Can fish exist in those ponds?

     12                A       I'm sure they could.

     13                Q       Okay.

     14                A       But now there's so much--like I said,

     15   their primary intent is to, is to help control silt.

     16                Q       Okay.

     17                A       So they fill up and have to be cleaned

     18   periodically.
     19                Q       To your knowledge, did a number of the

     20   people living down below, did they end up having fish on

     21   their property after this flood event?

     22                A       Oh, I don't have any idea about that.

     23                Q       Do you, are you aware of that at all?

     24                A       No, I'm not, sir.

     25                Q       Let me ask you a little bit about--let's


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      1   just shift over and let's make the next packet I've given

      2   you, I think it refers to Permit 569.          To be clear, the ones

      3   I've been asking you about are 568, is that correct?

      4               A        Correct, yes, that's correct.

      5               MR. PILLERSDORF:      Atha, why don't you put a four

      6   (4) on that collection, the 568, the 56-, excuse me, the

      7   569.

      8               MR. HUFFMAN:          I'm looking.
      9               MR. PILLERSDORF:      There should be a packet.       The

     10   first one would be--I'm trying to find the date.

     11               MR. WILSON:           It was pinned separately with

     12   another.

     13               MR. LARKIN:           Can we go off the record.

     14               MR. PILLERSDORF:      I tried to assemble them in

     15   chronological order.

     16               MR. LARKIN:           Do we want to go off the record

     17   and organize it?

     18               MR. HUFFMAN:          Yeah, and I'll just copy
     19   actually what's in front of him...

     20               MR. PILLERSDORF:      Okay.

     21               MR. HUFFMAN:          ... and bring them that.

     22               MR. PILLERSDORF:      Okay, that's fine.

     23               OFF THE RECORD

     24               Q        Mr. Wilson, during the break we handed

     25   you, I guess, collective Exhibit 4, is that correct?             Do you


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      1   have that in front of you?

      2               A        Yes.

      3               Q        And if I'm correct, all of those

      4   collective Exhibit No. 4 refers to Permit Number 897-0569,

      5   is that correct?

      6               A        I believe so.      I haven't looked at every

      7   single page, but...

      8               Q        Okay.
      9               A        ... most, most of them I've looked at,

     10   just about all of them have 89-69 on them, yes, sir.

     11               Q        During this deposition, we've been talking

     12   about Permit Number 897-0568 and Permit Number 897-0569.

     13   Explain why there are two (2) different permit numbers.

     14               A        Well, they're two (2) separate permits.

     15   That's...

     16               Q        Who, who is the company name?

     17               A        Pine Branch Mining is.

     18               Q        Okay.    Do you know their relationship to
     19   Blackhawk Mining?

     20               A        I don't, I don't really know the

     21   relationship, but I believe that Blackhawk is the operator

     22   for those...

     23               Q        Okay.

     24               A        ... it's considered.

     25               Q        Are you...


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      1               A        I mean I don't know if they...

      2               Q        Are you pretty familiar with these two (2)

      3   permits?

      4               A        Yes.

      5               Q        When you would go out there to inspect,

      6   which individuals would you deal with that worked for either

      7   Pine Branch or Blackhawk, any particular person who would be

      8   most knowledgeable that you would interact with?
      9               A        Well, currently working the agreed order,

     10   there's, there's men there every day.          Michael Day is, is

     11   the foreman there.      I would speak to him on site.

     12               Q        Okay.    How long has Mr. Day been there?

     13               A        He's been there since the agreed order,

     14   since they have started working on it.

     15               Q        Okay.    Was he there before the flood

     16   event?

     17               A        I think so, yes.

     18               Q        I mean when you would go up there, I
     19   assume you would identify yourself, correct?

     20               A        Yes.

     21               Q        And you would interact with somebody about

     22   the status of the mining operation?

     23               A        Yeah.    If, if I saw anything on site, I

     24   definitely would talk to the foreman.

     25               Q        Okay.


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      1               A        Although many of the maintenance problems,

      2   I would talk to Mr. Gibson there.

      3               Q        Is he the gentleman who is here today for

      4   the deposition?

      5               A        Yes.

      6               Q        Okay.    Let me ask you: during the break, I

      7   gave you a packet that we have marked as Exhibit 4, and I

      8   asked you to tab three (3) of the Mine Inspection Reports.
      9   Is that correct?

     10               A        Yes.

     11               Q        Okay.    Let's talk a little bit about

     12   November 29, 2021.      Am I correct that you're listed on the

     13   inspection report with that date corresponding?

     14               A        Yes.

     15               Q        Okay.    And the Mine Inspection Report,

     16   there's a reference to contemporaneous reclamation and it

     17   says EG.    What does EG mean?

     18               A        EG means extension granted.
     19               Q        Okay.

     20               A        Now what I'm, what I'm looking at here

     21   with that date is the Inspection of Non-Compliance.

     22               Q        Okay.

     23               A        It's not the, it's not the Mine Inspection

     24   Report.

     25               Q        Okay.


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      1               A        But EG does refer to extension granted.

      2               Q        Extension granted for what?

      3               A        To give them more time to, whatever the

      4   violation was, to work on toward abatement, toward

      5   completing that.

      6               Q        What was the issue of why the

      7   contemporaneous reclamation, EG was, was put down there?

      8   What was the issue?
      9               MR. MORGAN:           Note my objection.      I think he

     10   said he's looking at a different document than what you're

     11   looking at.

     12               A        I'm sorry.     Let me, let me pull the right

     13   date out.

     14               Q        Sure, please do.

     15               A        The, the Mine Inspection Reports are

     16   further down in the stack.        You did say 7-18 was one of

     17   them?

     18               Q        11-, I'm asking about 11-29-21.
     19               A        Yes, sir.

     20               Q        Do you have that in front of you?

     21               A        Not yet.

     22               MR. HUFFMAN:          Just a second, I'm getting to

     23   it.

     24               A        Alright.     Sir, I do have the document

     25   you're talking about.


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      1               Q        Just so we're clear, it says Mine

      2   Inspection Report on the top?

      3               A        Yes.

      4               Q        And down below it says Env. Inspector

      5   Daniel--is your name Danny or Daniel?

      6               A        My name is, is Daniel Wilson.

      7               Q        Who calls you Danny?

      8               A        My mom called Danny, and I just, I wrote
      9   that for many years.

     10               Q        Okay.    So it says Danny Wilson, correct?

     11               A        I'm sorry, yes.

     12               Q        And it says 11-29-2021, correct?

     13               A        Yes, sir.

     14               Q        Okay.    Mr. Wilson, so there's no

     15   confusion...

     16               A        No, it's me.

     17               Q        ... on, on that document, am I correct,

     18   across from contemporaneous reclamation there's an EG,
     19   correct?

     20               A        Yes.

     21               Q        Okay.    Explain to us why there's an EG

     22   there.

     23               A        This is for Non-Compliance 80-0845.          This

     24   is before the agreed order was issued.          So when, when

     25   there's a non-compliance, if, if the permittee or whoever is


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      1   cited does not abate that violation within ninety (90) days,

      2   extensions have to be requested by, by letter and it has to

      3   be sent to Frankfort.       Frankfort is the only ones that can

      4   grant an extension.

      5                Q       Okay.    You used the word violation.        What

      6   was the violation?

      7                A       Contemporaneous, running out of time to

      8   reclaim the exposed highwall.
      9                Q       Okay.    Also there's a reference to

     10   revegetation, correct, on the same document?

     11                A       I did FP reveg.      I FP'd backfilling and

     12   grading as well.

     13                Q       And in the typewritten notes down below,

     14   there's a reference to revegetation, correct?

     15                A       Yes.

     16                Q       Okay.    Why don't you read that in the

     17   record so we're clear.

     18                A       "Ensure the minimum ninety (90%) percent
     19   of the permanent ground cover standards for revegetation has

     20   been achieved."

     21                Q       As of 11-29-21, had that been achieved?

     22                A       No.

     23                Q       Let's jump to 3-24-22.       Does everybody

     24   have that?

     25                MR. MORGAN:          Ned, you're on the Mine


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      1   Inspection Reports?

      2               Q        Mine Inspection Report, Danny Wilson,

      3   which he said is not his name.

      4               A        That is me.

      5               Q        Do you have that in front of you, Mr.

      6   Wilson?

      7               A        Yes, I do.

      8               Q        Okay.    Let's talk a little bit about the
      9   document.    It's dated 3-24-22, and it has the name Danny

     10   Wilson listed, correct?

     11               A        That's right, that's right.

     12               Q        Contemporaneous reclamation, there's an

     13   EG.   What is going on there?

     14               A        That is another extension that was granted

     15   beyond ninety (90) days...

     16               Q        Okay.

     17               A        ... by the Director of the Division of

     18   Mine Reclamation and Enforcement.
     19               Q        Okay.    What was the violation?

     20               A        The violation was, the code was CR, and

     21   that's, again, the same violation...

     22               Q        Okay.

     23               A        ... running out of time.

     24               Q        And there's also a reference to

     25   revegetation with a FP, correct?


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      1               A        Yes, there is.

      2               Q        Okay.    What does the FP mean?

      3               A        It's preventive maintenance.         It's, it's

      4   just, it's just our, our way of telling them, "Before you

      5   can get bond release, you have to have ninety (90%) percent

      6   coverage on the revegetation."

      7               Q        And down in the typed notes, there's also

      8   a reference to the revegetation, correct?
      9               A        Yes, yes.

     10               Q        Okay.    What do the notes indicate about

     11   the status of revegetation?

     12               A        It says, "Minimum, ensure the minimum of

     13   ninety (90%) percent of the ground, of the permanent ground

     14   cover standards for revegetation has been achieved."

     15               Q        So looking at this document from 11-29-

     16   2021 to 3-24-2022, the revegetation had not been achieved?

     17               A        That's correct.

     18               Q        Okay.
     19               MR. MORGAN:           Objection to the form of that

     20   question.

     21               Q        The last one I want to ask you about would

     22   be dated 7-18-22.      Do you have that in front of you, Mr.

     23   Wilson?

     24               A        I do.

     25               Q        Okay.    This is similar to the other two


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      1   (2), correct?

      2                A       Yes.

      3                Q       They are all Mine Inspection Reports?

      4                A       All talking about the same violation, yes,

      5   sir.

      6                Q       Okay.    What was--according to this Mine

      7   Inspection Report, there's a reference to revegetation and

      8   the initials FP, correct?
      9                A       Yes.

     10                Q       Okay.    What does FP stand for?

     11                A       Preventive maintenance or--again, that is,

     12   that is the inspector's way and the state's way of reminding

     13   these operators or permittees that before they can achieve

     14   bond release, that they must have ninety (90%) percent

     15   permanent ground cover.

     16                Q       And the notes indicate, about revegetation

     17   says what on that document dated 7-18-22?

     18                A       It says, "Ensure the minimum ninety (90%)
     19   percent of the permanent ground cover standards for

     20   revegetation has been achieved."

     21                Q       Is it fair to say it hadn't been achieved

     22   as of that date?

     23                A       No, it had not.

     24                Q       That's a week before the flood event,

     25   wasn't it?


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      1                A       Yes.

      2                Q       To your knowledge, was it achieved within

      3   that week?

      4                A       No.

      5                Q       Are you familiar with Haven King?

      6                A       Yes.

      7                Q       Did he have any involvement in these two

      8   (2) permits, to your knowledge?
      9                A       Haven King is a contractor that is

     10   sometimes used by Blackhawk to remove ponds and do other

     11   maintenance issues.      I cannot remember, I cannot remember if

     12   he worked on these two (2) permits.

     13                Q       Okay.    Would you know him if you saw him?

     14                A       Yeah.

     15                Q       Okay.    We're going to take his deposition

     16   later today, and I've got some information he may have been

     17   involved in some of the maintenance.          Do you have any

     18   personal knowledge about that one way or another?
     19                A       Well, again, he, he could have been; I

     20   don't, I don't recall.       I do know what his, what his role

     21   was with the company.       Again, I saw him on other permits

     22   removing ponds, temporary ponds.

     23                Q       Okay.    How many permits do you have, I

     24   guess, that you monitor?

     25                A       Approximately thirty (30).


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      1                Q       Okay.    Where are most of those permits at,

      2   what counties?

      3                A       They're in Perry County, most of mine are.

      4                Q       Okay.    Where are these permits, what

      5   county?

      6                A       Perry County.

      7                Q       Okay.    Were they above the Caney Creek

      8   watershed, to your knowledge?
      9                A       Yes.

     10                MR. PILLERSDORF:     We may be done.     Let me talk to

     11   Mr. Herald a minute.      Okay.

     12                OFF THE RECORD

     13                Q       Mr. Wilson, just a couple of more

     14   questions.

     15                A       Okay.

     16                Q       Let's go back to the inspection report, 3-

     17   24-2022.    I think that was the second one I asked you about

     18   since the break.
     19                A       Okay.

     20                Q       There's a reference to sediment,

     21   sedimentation ponds, and it says FP.          Can you explain what's

     22   going on there.

     23                A       Well, there was a complete inspection, and

     24   I took a look at all those ponds within, maybe not that

     25   particular day because there's several of them, but within a


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      1   reasonable period of time, and I used FP language to tell

      2   them to, to make sure that they monitor and maintain those

      3   ponds according to design.

      4                Q         In the typewritten notes, it says, "The

      5   following ponds had no inlet flow", and it's got a bunch of

      6   numbers.    Can you translate that for us?

      7                A         Yes, sir.   Those ponds maybe not

      8   necessarily were bench structures, but probably so,
      9   probably, because most, most of the bench structures doesn't

     10   get enough water to have, you know, to be flowing every

     11   single time.

     12                Q         Okay.   I wonder if you could explain that

     13   to us a little better.

     14                A         The permit boundary, if you think of the

     15   permit boundary, the bench ponds are located in certain

     16   strategic areas around that permit boundary on the inside

     17   to, to handle the runoff, but also collect the silt.             And a

     18   lot of times there is just not enough water; I mean it's a
     19   seasonal thing.      If you're having, if you're having a lot of

     20   rain, it rains every day or something, you may have a few of

     21   these bench ponds to discharge or flow when you inspect

     22   them.   Now the, the embankment ponds, which most of those

     23   listed below that are embankments, those ponds usually are

     24   under a hollow-fill or they're directly in a, a main

     25   tributary.       You know, they're, they're basically in a drain,


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      1   stopping up a hollow there somewhere; so a lot of times

      2   those ponds will be flowing.        Those, the hollow-fills

      3   usually have water flowing from them constantly.

      4                Q         Why is that?

      5                A         Well, they put rock pours in those for

      6   drainage and, you know, they cover a huge--well, I say huge

      7   --they cover a pretty good-sized area most of the time and,

      8   I'm talking about acreage-wise, and they also cover,
      9   elevation-wise, they cover a pretty good area.            So, you

     10   know, there's springs, there's, there's water that just, you

     11   know, that just discharges from the toes of these hollow-

     12   fills most of the time; that's why the pour and everything

     13   is put in there, to allow that to happen.

     14                MR. PILLERSDORF:     Okay.   I don't have any more

     15   questions.       Thank you, Mr. Wilson.    I appreciate your

     16   patience.

     17                MR. WILSON:          Thank you.

     18
     19   CROSS EXAMINATION BY HON. CLAY LARKIN:

     20                Q         Mr. Wilson, I'm Clay Larkin.       I represent

     21   the Defendants in the case.        I'll try not to keep you here

     22   any longer than I have to, but...

     23                A         Alright.

     24                Q         ... I just wanted to follow up...

     25                A         Sure.


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      1               Q        ... on a couple of things that Mr.

      2   Pillersdorf asked you.       He asked you a number of questions

      3   about contemporaneous reclamation.         We call it CR sometimes.

      4               A        Yes.

      5               Q        In this instance on the two (2) permits

      6   that we're talking about, we've confirmed that there were CR

      7   violations, right?

      8               A        Yes.
      9               Q        The Cabinet granted Pine Branch extensions

     10   of time to abate those violations, correct?

     11               A        That, that is true.       That's before the

     12   agreed order was issued.

     13               Q        Well, and let's talk about that.          The

     14   Cabinet granted extensions of time.         And before there was

     15   even an agreed order, the Cabinet is allowed to do that, as

     16   you explained.     Would the Cabinet do that if there was any

     17   danger to health and safety of the public if the extension

     18   was granted?
     19               A        Well, if there was, if there was some

     20   environmental issue, you know, with, with those permits, you

     21   know--well, first of all, the inspector, his supervisor, and

     22   probably a hydrologist from Frankfort, there would be

     23   several people taking a look at that before, hopefully

     24   before it became a problem or an environmental issue that

     25   would harm someone.


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      1               Q        And if it was that later case where

      2   somebody was going to be harmed, there are other options

      3   that the Cabinet has besides granting an extension?

      4               A        Absolutely.

      5               Q        What, what is...

      6               A        We can write, well, we can write Imminent

      7   Danger COs, which would shut everything down immediately.

      8               Q        And you would do that if the conditions
      9   were creating a danger, wouldn't you?

     10               A        Absolutely.

     11               Q        You wouldn't grant somebody an extension

     12   if they weren't trying to remedy the violation, would you?

     13               A        No.   That's another thing, you know, the

     14   extensions--as far as our office, Hazard Regional Office, we

     15   can't, we can't give them time, but we inspect them and we

     16   fill out the paperwork, and the extensions have to be

     17   granted through Frankfort.

     18               Q        And they don't give them for just no
     19   reason, do they?

     20               A        No.   The, the sole reason for those

     21   extensions are to allow them to achieve reclamation.

     22               Q        And so if somebody was showing no efforts

     23   towards that or wasn't being diligent about that, they

     24   probably wouldn't get an extension?

     25               A        No.   They, they--well, you know, if they


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      1   was not diligent, they would, they wouldn't, they probably

      2   wouldn't get very much.

      3               Q        So that's, that's the extension process.

      4   Now we've also in this case then got an agreed order.             Is

      5   your understanding of that agreed order that it basically

      6   has set a new deadline for the completion of reclamation?

      7               A        Yes.

      8               Q        So is it fair to say that Pine Branch
      9   isn't in violation of the CR standard as established by the

     10   agreed order?

     11               A        Well, the agreed order is in effect, and

     12   they are diligently working toward reclamation and the--I

     13   believe the agreed order is July 24, 2024.           Now they, I

     14   think, at that time if, if Pine Branch doesn't achieve

     15   complete reclamation, they can apply for an extension of

     16   agreed order, but they'll look at that really, really

     17   closely.    And, and, you know, if they've been working

     18   diligently and they, and, and achieving some success--that's
     19   another thing, the success.        They have to, that has to be

     20   documented as they, as they proceed with the agreed order.

     21               Q        And if they hadn't been diligent to begin

     22   with, they probably wouldn't have obtained an agreed order

     23   from the Secretary, would they?

     24               A        No.

     25               Q        Okay.    You were asked some questions about


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      1   a couple Notices of Non-Compliance that were written to Pine

      2   Branch in August of 2022 that had to do with ponds.             Do you

      3   recall that discussion that you had?

      4                A       Yes, sir.

      5                Q       And I think you testified that you had

      6   assistance in looking at those ponds after, this was after

      7   the flood?

      8                A       Yes.    After the flood, there was--well, I
      9   had some help over there to, to take a look at everything.

     10                Q       But you were there and...

     11                A       Yes.

     12                Q       ... you looked at it, correct?

     13                A       Yes.

     14                Q       And you wrote the inspection reports that

     15   we've talked about with respect to--I don't know that those

     16   were introduced, but they, you wrote, wrote your findings?

     17                A       That's right.

     18                Q       Is it fair to say, just to summarize
     19   those, that those violations resulted from this historic

     20   rain event?

     21                A       The ones on the ponds where the, the

     22   erosion...

     23                Q       Uh huh (affirmative).

     24                A       ... yeah, they were directly because of

     25   that.


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      1               Q        It wasn't really that Pine Branch should

      2   have been doing something it didn't do; it was just that

      3   there was historical rain?

      4               A        Well, to be honest with you, most of these

      5   ponds, the way they're set up, it takes a, it takes a pretty

      6   good rain event to, to fill that pipe so it expels a full--

      7   and that's the principal spillway.         Well, in this particular

      8   case, the principal spillway wouldn't handle all the water,
      9   so the emergency spillway was utilized, and that's where the

     10   erosion occurred, see.       And I had, I had never seen water in

     11   the emergency spillway on several of these ponds.

     12               Q        So it was an unprecedented level of rain?

     13               A        Oh, it was.

     14               Q        We talked or you were asked some questions

     15   about Blackhawk versus Pine Branch.         Do you remember that

     16   discussion?

     17               A        Yes.

     18               Q        With respect to Permit 897-0568 and 897-
     19   0569, Pine Branch is the permittee, correct?

     20               A        Yes.

     21               Q        And if there was a contract operator,

     22   you're required to list the contract operator in a Notice of

     23   Non-Compliance, correct?

     24               A        Yes.

     25               Q        Okay.    And in my review of the documents,


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      1   you don't list an operator?

      2               A        No, I don't.

      3               Q        So would it be fair to assume that Pine

      4   Branch Mining is the only permittee here and, and there's

      5   not an operator?

      6               A        Yes.

      7               Q        Okay.

      8               A        I don't know, I don't know what
      9   Blackhawk's niche is, what they, what they do.

     10               Q        And that's fair.      I'm not going to ask

     11   you...

     12               A        Yeah, I, I...

     13               Q        ... anything about corporate structures or

     14   anything like that.      I just wanted to confirm that you're

     15   not aware here of anybody other than a permittee?

     16               A        Those com-, that company operates several

     17   different names.

     18               Q        But in this case, we're talking about Pine
     19   Branch Mining?

     20               A        Pine Branch, yes, sir.

     21               Q        Okay.    Let's talk a little bit about this

     22   revegetation question.       And you were asked several questions

     23   about, I call them FP Notices.

     24               A        Right.

     25               Q        And those are always down in the comment


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      1   section of these reports, aren't they?

      2               A        That's right.

      3               Q        You had several that said FP, ninety (90%)

      4   percent revegetation.      Does that mean that the permittee was

      5   in violation of the revegetation standard?

      6               A        No.   That, all that means is that the

      7   post-mining land use was hayland pasture.           And in order to

      8   achieve bond release, you know, ninety (90%) percent of
      9   ground cover is what has to be achieved.

     10               Q        Let me put it this way: so sometime in the

     11   future, they needed to get to ninety (90%) percent?

     12               A        That's right.      If you go on that permit

     13   and look at, at the exposed wall that was cited or what's

     14   left of it, you're going to see, close behind that, you're

     15   going to see an area that's already graded and vegetation

     16   growing on it.     And if you keep going on past that, there's

     17   an area up there that's already been released, the bond

     18   released.    So you, you know, that area has a little bit of,
     19   of the whole process going on right there, I mean, just...

     20               Q        So for a layperson, it's fair to say some

     21   of this permit is actually revegetated and the bond

     22   released?

     23               A        That's right.      They're, they're already

     24   gone, some of them are.

     25               Q        It's just the areas where they're still


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      1   working...

      2                A       Right.

      3                Q       ... but they're not required to have

      4   ninety (90%) percent yet and haven't made ninety (90%)

      5   percent?

      6                A       That's right.      They, they always if--we

      7   didn't mention it, but when we cite an area, there's always

      8   increments cited on there.
      9                Q       Uh huh (affirmative).

     10                A       Well, those increments can be, they can,

     11   they--an increment can achieve Phase III bond release and

     12   there could still be some exposed highwall on the other side

     13   of the permit; see, it's possible.

     14                Q       Okay.    I think that helps clear that up

     15   for us.    But just for the record, FP doesn't mean there's a

     16   violation?

     17                A       FP is preventive maintenance, and that's

     18   exactly what we use it for.        If there's something there that
     19   is, is potential to develop into a violation, you know, we

     20   use that.    Like sometimes we'll say rill and gullies, rills

     21   and gullies are forming in the backfill, you know, perform

     22   maintenance before a violation occurs.          You know, so I, I

     23   used that one several times.

     24                Q       Sometimes it's just a reminder of

     25   something you might need to do in the future?


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      1                A       That's right.

      2                MR. LARKIN:          I think those were most of what

      3   I wanted to touch on.      But if we could have just a couple of

      4   minutes, I want to follow up with these folks and make sure

      5   we don't have anything else.

      6                MR. WILSON:          Sure.

      7                OFF THE RECORD

      8                MR. LARKIN:          Thank you, Mr. Wilson.       I don't
      9   have anything else for you.        I appreciate your time.

     10

     11   RE-DIRECT EXAMINATION BY HON. NED PILLERSDORF:

     12                Q       Mr. Wilson, a couple of follow-up

     13   questions.

     14                A       Alright, sir.

     15                Q       Are you familiar with any of the satellite

     16   photos of this area that were taken in 2021, before the

     17   flood event in 2022?       Is part of your job looking at those

     18   satellite photos?
     19                A       I have looked at some of them, you know,

     20   for various reasons.

     21                Q       Let me ask you--we've hired an expert

     22   witness in this case, and I'm going to ask you to respond to

     23   what he says.     He says he looked at the satellite photos.

     24                A       Okay.

     25                Q       And he says--I'll just read you part of


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      1   his report and get you to respond.         Okay.    It says, "At the

      2   time of the July, 2022 flooding, reclamation in the

      3   watershed was wholly inadequate with substantial areas

      4   unreclaimed, bare of vegetation or very sparse vegetation."

      5   Is that an accurate statement?

      6               MR. MORGAN:           Let me just object, before you

      7   go, object to the form of the question and object to the

      8   characterization that this is an expert.           The court has not
      9   identified him as an expert or allowed him as an expert; so

     10   with those caveats.

     11               A        Alright.

     12               Q        Did you hear what I read you?

     13               A        Yes, sir.

     14               Q        Was that an accurate statement?

     15               A        Well, again, like I said a few minutes

     16   ago, you, you have areas on that complex up there that has

     17   already been released; you have areas that are, say, Phase

     18   I; you have areas that are Phase II; you have areas that
     19   have exposed highwall; and right there close to it you'll

     20   have, you know, no vegetation, a rough area.           So, yes, there

     21   is areas there that, that is next to the exposed highwall

     22   that's, that's not been graded or anything like that.

     23               Q        And isn't it true that in Permit 897-0568,

     24   there was an ongoing Notice of Violation relating to

     25   reclamation that was first issued in February of 2020, is


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      1   that true?

      2                MR. MORGAN:          Objection to form.

      3                A       What was the violation code?

      4                Q       In 897-0568, issues about the reclamation,

      5   they were first being notified of those issues as early as

      6   February of 2020.

      7                A       Was it, was it a CR violation, is that

      8   what you're saying?
      9                Q       Well, I'm just asking you...

     10                A       Oh.

     11                Q       ... whether issues, was citing them for

     12   reclamation issues, I guess, more than three (3) years

     13   before the flood event?

     14                MR. MORGAN:          Objection to form.

     15                A       I don't recall that.

     16                Q       Okay.

     17                A       Are, are they in your...

     18                Q       I think we've already talked about...
     19                MR. MORGAN:          Objection to form.

     20                Q       ... in 568.

     21                A       Oh, that, that was the CR violation mostly

     22   is what we talked about.

     23                Q       So the CR violation is what?

     24                A       It is where they have created highwall in

     25   the mining process and, with the Cabinet's approved time


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      1   allotment, they have exceeded that time; so I wrote them for

      2   running out, running out of time and not having it

      3   reclaimed.

      4                MR. PILLERSDORF:     Thank you, sir.     I appreciate

      5   it.

      6                MR. WILSON:          Okay.

      7                MR. LARKIN:          Nothing else from us.

      8
      9                          * * * * * * * * * * *

     10                Thereupon the taking of the deposition of DANIEL

     11   WILSON was concluded.

     12                           * * * * * * * * * *




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                                 CERTIFICATE OF SERVICE

                      This is to certify that the foregoing deposition

          has been mailed and/or emailed to the following persons:

                      ORIGINAL TO:

                      Hon. Ned Pillersdorf
                      PILLERSDORF LAW OFFICES
                      124 West Court Street
                      Prestonsburg, KY 41653

                      COPIES:

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                      DINSMORE & SHOHL, LLP
                      100 West Main Street, Ste 900
                      Lexington, KY 40507

                      This the 8th day of January, 2024.


                                                  _________________________
                                                  Atha Mae Maggard
                                                  Freelance Court Reporter




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                                       CERTIFICATE


          STATE OF KENTUCKY)

          COUNTY OF FLOYD     )

                      I, ATHA MAE MAGGARD, Notary Public for the State

          of Kentucky at Large, do certify that the foregoing

          deposition was taken at the time and place stated in

          caption; that the witness was duly sworn before me before

          testifying; that the deposition was taken by me in shorthand
          notes and on tape recorder and later transcribed on the

          computer by me; and that the foregoing 52 pages of

          typewritten material is a true and correct copy of my said

          shorthand notes and tape recordings.

                      Given under my hand this 8th day of January, 2024.

                                                  _________________________
                                                  Atha Mae Maggard
                                                  Notary Public, KYNP10490
                                                  State of KY at Large

          My commission expires
          August 6, 2024




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